

People v Cahill (2017 NY Slip Op 06845)





People v Cahill


2017 NY Slip Op 06845


Decided on September 29, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 29, 2017

PRESENT: WHALEN, P.J., SMITH, PERADOTTO, LINDLEY, AND CURRAN, JJ. (Filed Sept. 29, 2017.) 


MOTION NO. (1573/07) KA 05-00983.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vJAMES F. CAHILL, III, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








